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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

      ALEKSEJ GUBAREV,
      XBT HOLDING S.A., and
      WEBZILLA, INC.
        Plaintiffs,                                                      Case No.

      v.                                                             0:17-cv-60426-UU

      BUZZFEED, INC. and
                                                            PUBLIC REDACTED VERSION
      BEN SMITH
        Defendants.


            MOTION AND MEMORANDUM OF LAW OF PLAINTIFFS FOR SUMMARY
           JUDGMENT ON DEFENDANTS’ “PUBLIC FIGURE” AFFIRMATIVE DEFENSE

               “Who on God’s green earth is Aleksej Gubarev?”1
                                                MOTION
             Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiffs Aleksej Gubarev,
  XBT Holding S.A. (“XBT”), and Webzilla Inc. (“Webzilla”) hereby move for summary
  judgment on Defendants Buzzfeed, Inc.’s (“Buzzfeed”) and Ben Smith’s Fifth Affirmative
  Defense, asserting that Plaintiffs are public figures. Because there exists no genuine issue of
  material fact and because, as a matter of law, Plaintiffs are neither general nor limited public
  figures, Plaintiffs are entitled to judgment on this affirmative defense as a matter of law.


  1
    Robert Garson, In Libel Suit by Aleksej Gubarev, BuzzFeed and Ben Smith Face a Tough Road,
  Observer (Feb. 7, 2017), https://observer.com/2017/02/ben-smith-buzzfeed-aleksej-gubarev-
  lawsuit-trump-russia-dossier/, Exhibit 1 to Declaration of Matthew Shayefar [“Shayefar Decl.”],
  filed herewith. See, also, John Miller, Who the heck is Aleksej Gubarev, and why is he serving
  John McCain’s friends?, The Free Peach (Nov. 3, 2017),
  https://freezepeach.net/2017/11/03/who-the-heck-is-aleksej-gubarev-and-why-is-he-serving-
  john-mccains-friends/, Exhibit 2 to Shayefar Decl. (“So who is Aleksej Gubarev? Aleksej
  Gubarev is not the famous Soviet Cosmonaut. May that gentleman rest in peace. Aleksej
  Gubarev is a tech industry bigshot Russian ex-patriot who lives in Cyprus, to the best of my
  knowledge. His hobbies include being rich and not buttoning his shirt up, he has a business that
  makes a lot of money in the U.S., he wasn’t really on anybody’s radar as a Putinbot, and his
  other hobby WAS being non-political.”).


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                                              Introduction
           Aleksej Gubarev is not Sting, Madonna, or Oprah. 2 XBT and Webzilla are not Microsoft,
  Google, or Facebook. None of the Plaintiffs in this action are household names or celebrities
  “whose ideas and actions the public in fact follows with great interest.” Waldbaum v. Fairchild
  Publications Inc., 627 F.2d 1287, 1292 (D.C. Cir. 1980). To the contrary, prior to Buzzfeed’s
  publication of the December 13, 2016 memo, the last of a collection of memos commonly
  referred to as the “Dossier,” Plaintiffs were hardly known outside of small technology circles,
  despite some (largely unsuccessful) efforts made to publicize the companies’ technological
  offerings and Mr. Gubarev’s experience as a successful technology entrepreneur.
           Nor were any of the Plaintiffs steeped in the debate concerning Russia’s efforts to
  influence the 2016 United States presidential election. To the contrary, prior to the publication
  of the Dossier, Mr. Gubarev had commented publicly only once on any topic even remotely
  connected to Donald Trump: in response to a Bloomberg reporter who solicited his assistance to
  “sort out technical details” for a story he was writing about whether an Alfa Bank computer
  server had been communicating with a computer server in the Trump organization. In response
  to that solicitation, Mr. Gubarev noted that it would be impossible to know precisely what was
  going on without access to the logs from both computers, which was not something that was
  publicly available. This technical and non-political statement was attributed to Mr. Gubarev in
  one sentence of the article eventually published by Bloomberg. Aside from this single
  publication, there is not another relevant piece of evidence for Defendants to put in front of this
  Court.
           Unwilling to let a wholesale lack of relevant evidence or supportive case law stand in
  their way, however, Defendants telegraphed to Plaintiffs and the Court their two-pronged plan of
  attack: attempt to slime Plaintiffs with irrelevant attacks and bury the Court with paper, assuming
  that the Court will mistake quantity for quality. 3



  2
    Counsel acknowledge that they are dating themselves. For the benefit of the Court’s law
  clerks: Aleksej Gubarev is not Drake, Selena Gomez, or Kylie Jenner.
  3
    See June 11, 2018 Hearing Transcript, D.E. 184-1, p. 23 (“[W]e have testimony in this case Mr.
  Gubarev and his companies sought tons of publicity
                                   I think we have tons of evidence, Your Honor. You know, it
  doesn’t matter whether you succeed in hitting PR. It matters that you try.”).


                                                        2
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         More specifically, Defendants have gleefully signaled their intent to say
  as many times as possible in the course of their briefing




         The Court might rightly wonder what any of this has to do with the determination of
  whether Plaintiffs are either general or limited-purpose public figures. Plaintiffs wonder that
  themselves. The materials are wholly irrelevant to the question at hand, but Defendants have
  promised them nonetheless.
         Defendants have also signaled their intent to provide the court with “tons” of evidence of
  Plaintiffs’ (largely) unsuccessful attempts to get the media to write more about their product and
  service offerings, none of which is relevant to the actual legal question at issue here.
         Nevertheless, Defendants insisted not only that they would stick by their assertion of
  what has proven to be a completely frivolous affirmative defense, but that a separate motion for
  summary judgment was required for them to do so. As the Court will see, below, Defendants’




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  position is wholly without factual or legal support and the Court should grant Plaintiffs’ Motion,
  dismissing Defendants’ affirmative defense and finding that, as a matter of law, Plaintiffs are
  private figures for the purposes of this case.
                                                   Facts
         Aleksej Gubarev was born in Russia. See Statement of Material Facts [“SMF”], filed
  herewith, ¶ 1. Mr. Gubarev, while he was a University student in Russia, dropped out of school
  to support his then-pregnant girlfriend (now his wife). Id. In 2001, Mr. Gubarev’s family were
  the victims of a violent home invasion in which his parents and grandmother were beaten and
  robbed. Id. at ¶ 2. Soon thereafter, in 2002, because they no longer felt safe in Russia and
  because they had difficulty affording an apartment in Russia, Mr. Gubarev and his girlfriend
  moved from Russia to Cyprus. Id.
         In 2005, Mr. Gubarev used his personal savings to start a small server company called
  Webazilla (later renamed Webzilla). Id., at ¶ 3. Over the next decade, by dint of hard work,
  entrepreneurial skills, and popular product offerings, Mr. Gubarev grew Webzilla and started
  other server companies, including Servers.com, all of which currently operate under the umbrella
  of XBT. Id., at 4.
         Despite operating a number of successful companies, Mr. Gubarev is largely unknown
  outside of small circles of technology executives and Cypriot entrepreneurs. Id., at ¶ 6-7. Over
  the years, Mr. Gubarev has spoken at a handful of small industry conferences, primarily to
  groups of fewer than 50 people. Id., at ¶ 24. From time to time, his companies have been
  recognized with small business-related awards. Id., at ¶ 25.




         Mr. Gubarev has never been involved in, nor publicly commented on, any political
  matters, be they Russian politics, Cypriot politics, or United States politics. Id., at ¶ 8.
         In September of 2015, for the first time, an XBT company, Servers.com, decided that it
  would experiment with hiring an outside public relations firm in an attempt to gain some




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  publicity and recognition for its server products. Id., at ¶ 9. Specifically, XBT’s subsidiary
  Servers.com retained Cutler PR for the purpose of promoting the brand of Servers.com. Id.
         Servers.com did not put significant effort into selecting a public relations firm, and
  instead selected the only company it considered. Id., at ¶ 10. Servers.com paid no more than
  $7,500 per month to Cutler PR. Id. Prior to engaging Cutler PR, XBT had no one handling
  public relations at all.8 Id., at ¶ 11. To the extent that XBT’s executives were themselves
  promoted, it was solely for the purpose of creating brand recognition for Servers.com, as
  suggested by Cutler PR. Id., at ¶¶ 12, 14. Servers.com’s sole intent was to promote its brand in
  markets where it thought it might be able to increase sales. Id.
         Over the next few months, Cutler PR was largely unsuccessful in its efforts, producing
  only very limited exposure for Servers.com, including publications in Network World,
  missioncriticalmagazine.com, and “Cloud Strategy” (“an extremely unpopular website”);
  mentions in a Forbes and a Inc.com list; and an opinion commentary written by Servers.com’s at
  then-time Chief Operating Officer Nikolay Dvas published on CNBC.com. Id., at ¶ 15. Cutler
  PR was never able to get Servers.com referenced in the high-level technology media that
  Servers.com had hoped might write about the company. Id. By March of 2016, Servers.com had
  obtained so little from Cutler PR’s work that it suspended its services. Id., at ¶ 16.
         Nevertheless, because Servers.com was still interested in growing revenue, it began to
  reach out to other PR firms and eventually hired the PR firm KGlobal. Id., at ¶ 17. KGlobal was
  engaged by Servers.com in or about July of 2016. Id. As with Cutler PR, KGlobal was hired for
  the sole purpose of promoting Servers.com to increase its sales. Id.
         Contrary to Defendants’ direct representations to this Court, at no time did the Plaintiffs
  seek “public commentary on Russian servers, on hacking….” June 11, 2018 Hearing Transcript,
  D.E. 184-1, p. 23.9 Instead, as part of its efforts to promote the Servers.com brand, KGlobal


  8
    Servers.com and XBT were so inexperienced at public relation efforts that Servers.com’s Chief
  Operating Officer did not even have a professional headshot and instead used a picture from a
  family photo shoot. SMF, ¶ 13.
  9
    The full quote reads: “For the 18 months preceding the publication of the dossier, they
  aggressively sought public commentary on Russian servers, on hacking, so much so that Mr.
  Gubarev was actually asked to speak to a Bloomberg reporter about the hack of the Democratic
  National Committee.” Contrary to counsel’s representation, and as detailed below, Plaintiffs
  were not seeking to comment on “Russian servers” or “hacking” and the Bloomberg reporter did


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  pitched Mr. Gubarev to numerous publications (as a Servers.com executive) as a good resource
  for “stories about the Russian tech, startup and business scene ... and general startup/business/
  entrepreneur tips and advice” or simply as the CEO of Servers.com for more information about
  the company’s capabilities and upcoming products. SMF, ¶ 19. Mr. Gubarev did not see even
  these emails until they were shown to him as part of this litigation. Id. KGlobal’s efforts, too,
  were largely unsuccessful. Mr. Gubarev was interviewed for a handful of media publications,
  most of which were very small and in niche technology markets. Id., at ¶ 20. Some of Mr.
  Gubarev’s interviews did not even result in him being referenced by the publications. Id.
          KGlobal also coordinated a series of press releases strictly concerning the company’s
  business offerings, almost all of which do not appear to have been picked up by any new
  organizations. Id., at ¶ 21. Servers.com found that the press releases were largely ineffective.
  Id. Only one press release – related to the very successful phone app, Prisma, 10 which was
  hosted by Servers.com – picked up any form of significant coverage. Id.
          Indeed, KGlobal’s efforts were so unsuccessful in driving attention to the company that,
  on December 15, 2016, Servers.com terminated KGlobal’s services, after only three months. 11
  Id., at ¶ 22.
           On October 31, 2016, the online magazine Slate published an article asking if a Trump
  organization server was communicating with a server maintained by Alfa Bank (and, if so, what
  that connection might mean). See Franklin Foer, Was a Trump Server Communicating With
  Russia?, Slate (Oct. 31, 2016), http://www.slate.com/articles/news_and_politics/cover_story/
  2016/10/was_a_server_registered_to_the_trump_organization_communicating_with_russia.html,
  Exhibit 10 to Shayefar Decl. In response to that article, on November 1, 2016, Bloomberg View




  not ask about the hack of the DNC at all, but rather about the technological aspects of allegations
  of a link between Alfa Bank servers and Trump servers. The Democratic National Committee is
  not mentioned even once in the article. See Leonid Bershidsky, Clinton Plugs Another Weak
  Story About Trump’s Ties to Putin, Bloomberg (Nov. 1, 2016), https://www.bloomberg.com/
  view/articles/2016-11-01/clinton-plugs-another-weak-story-about-trump-s-ties-to-putin, Exhibit
  6 to Shayefar Decl.
  10
     Prisma is a phone app that allows users to employ filters to make their photographs look like
  paintings.
  11
     After Buzzfeed published the defamatory materials at issue, Plaintiffs hired KGlobal to
  perform crisis communications.
                                                   6
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  published an article written by one of its columnists, Leonid Bershidsky, entitled “Clinton Pugs
  Another Weak Story About Trump’s Ties to Putin.” See Exhibit 6 to Shayefar Decl.
         In researching his article, Mr. Bershidsky contacted Mr. Gubarev via email “out of the
  blue” to ask for Mr. Gubarev’s technical opinion as to the technical allegations contained in the
  Slate article. SMF, ¶ 29. This contact was initiated by Mr. Bershidsky and not Mr. Gubarev. Id.
  Prior to this contact, Mr. Gubarev had not commented publicly on any topic even remotely
  connected to Donald Trump or any alleged connections between Mr. Trump (or the Trump
  Organization) and Russia (or Alfa Bank). Id. Indeed, Mr. Gubarev did not consider even this
  request to be political in nature, rather, he believed it to be – as Mr. Bershidsky specified – a
  technical question posed to him by a journalist who knew that he headed Servers.com. Id., ¶¶
  28, 30 (“Could you help me sort out technical details of what is described here?”).
           Mr. Bershidsky confirms that he contacted Mr. Gubarev not because Mr. Gubarev had
  any involvement in the story (or in politics at all for that matter), but rather because Mr.
  Bershidsky knew Mr. Gubarev to have technological knowledge concerning servers. Id., at ¶ 32.
  See, generally, Declaration of Leonid Bershidsky, filed herewith. Mr. Gubarev provided Mr.
  Bershidsky with some limited technical information in response to specific questions posed by
  Mr. Bershidsky. SMF, ¶ 31.
         Ultimately, Mr. Gubarev was mentioned (and not directly quoted) in a single sentence in
  the Bloomberg article:
         Alexey Gubarev, chief executive officer of Luxembourg-registered XBT Holding,
         which owns the infrastructure-as-a-service-provider Servers.com, told me there
         was no legitimate way to get access to the full logs of a server that you do not
         control.
  SMF, ¶ 33; Exhibit 6 to Shayefar Decl.
         The article does not quote or reference Mr. Gubarev as opining on President Trump, Alfa
  Bank, or the alleged connection between the two. The article does not make any reference
  whatsoever to the Democratic National Committee or the hacking of the same. Instead, the
  article contains the single sentence quoted above in which Mr. Gubarev simply provides a




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  technical opinion concerning server logs, which Mr. Bershidsky used to question whether the
  Slate article could properly reach the conclusions it had reached. 12
         Other than this single mention in the Bloomberg article, there is no evidence that Mr.
  Gubarev, XBT, or Webzilla ever commented publicly on any topic that could be considered even
  remotely political or connected in any way to President Trump or Alfa Bank.
         The Dossier as a whole (including the December memo and the portion of the December
  memo that discusses the Plaintiffs) makes no mention of a Trump Organization server
  communicating with an Alfa Bank server. See Exhibits 11 and 45 to Shayefar Decl.




                                               Argument
         I.      The Court’s Choice of Law Will Not Affect the Outcome of This Motion.
         As this Court has recently noted, a choice of law analysis is not necessarily applied to
  “the collective sum of issues in dispute,” but rather “to each individual issue which arises in the
  case.” Nix v. ESPN, Inc., 2018 U.S. Dist. LEXIS 149345, at *9 (S.D. Fla. Aug. 30, 2018) (citing
  Judge v. Am. Motors Corp., 908 F.2d 1565, 1578 (11th Cir. 1990)). “Thus the law of a foreign
  state may control one issue while the law of Florida controls another.” Judge, 908 F.2d at 1578.
  Accordingly, this Court’s determination that New York law should control the question of fair
  report privilege would not necessarily control the applicable choice of law for the public figure
  determination. Nevertheless, the Court is only “required to conduct a choice-of-law analysis
  where there is a true conflict between the laws of the states with an interest in the case.” Nix,



  12
    Interestingly, on November 2, 2016, Slate published a follow-up article in which it
  acknowledged the widespread criticism of its original article, including specific criticism about
  whether Slate’s sources had been looking at incomplete server logs. See Franklin Foer, Trump’s
  Server, Revisited, Slate (Nov. 2, 2016), http://www.slate.com/articles/news_and_politics/
  politics/2016/11/the_trump_server_evaluating_new_evidence_and_countertheories.html, Exhibit
  10 to Shayefar Decl. (“The Intercept also looked into this story and decided not to pursue it. One
  reason was that it doubted my source possessed an unabridged set of DNS logs.... As I noted in
  my piece, there’s no foolproof way to verify that these logs are complete and unedited.... Not
  every nexus between the candidate and Russia is nefarious. This one might well be entirely
  innocent or even accidental.”).
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  supra at *7. “A true conflict exists when two or more states have a legitimate interest in a
  particular set of facts in litigation and the laws of those states differ or would produce a different
  result.” Id. (quoting Pycsa Panama, S.A. v. Tensar Earth Techs., Inc., 625 F. Supp. 2d 1198,
  1219 (S.D. Fla. 2008), aff'd, 329 Fed. Appx. 257 (11th Cir. 2009)). In the present case, although
  the Florida and New York courts sometimes utilize different phraseology to describe the proper
  tests to be applied to determine if a plaintiff is a private or public individual, the actual analysis
  is the same and the results under either state’s law would be identical. As such, the Court need
  not engage in a choice of law analysis for the purposes of this motion.
          II.        The Determination of Whether Plaintiffs Are Public Figures is a Question of
                     Law for the Court to Decide, Placing the Burden of Proof on Defendants.
          For their Fifth Affirmative Defense, Defendants asserted that “Plaintiffs are public
  figures and cannot meet their burden to prove actual malice by clear and convincing evidence.”
  D.E. 38, p. 10. Under both Florida and New York law, the question of whether a plaintiff is a
  public or private figure is generally a question of law for the Court to decide. See, e.g., Saro
  Corp. v. Waterman Broad. Corp., 595 So. 2d 87, 89 (Fla. 2d DCA 1992) (“The ‘public figure
  status’ of a claimant is a question of law to be determined by the court.” (citing Rosenblatt v.
  Baer, 383 U.S. 75 (1966))); Mitre Sports Int'l Ltd. v. HBO, Inc., 22 F. Supp. 3d 240, 249
  (S.D.N.Y. 2014) (“Whether a plaintiff is a public figure is a question of law for the court.”
  (citing Celle v. Filipino Reporter, 209 F.3d 163, 176 (2d Cir. 2000) and Hotchner v. Castillo-
  Puche, 404 F. Supp. 1041, 1045 (S.D.N.Y. 1975))); Cantrill v. Herald Co., 1992 U.S. Dist.
  LEXIS 7620, at *48 (N.D.N.Y. May 22, 1992) (the law places “upon the court the responsibility
  of deciding the question as a matter of law”); Krauss v. Globe Int'l, Inc., 251 A.D.2d 191, 192,
  (N.Y. App. Div. 1st Dept. 1998) (“Since the facts concerning this issue are not in dispute and are
  sufficiently set forth in the papers, the public-figure determination should properly be made by
  the court....”).
          And, although it should be clear simply by virtue of the fact that Defendants have plead
  “public figure status” as an affirmative defense, the question of whether a plaintiff is a public
  figure is, indeed, an affirmative defense for which the Defendants bear the burden of proof.
  See, e.g., Krauss, 251 A.D.2d at 192 (“[T]he public-figure determination should properly be
  made by the court ... placing the burden of proof on the defendant....”); Cantrill, supra at *48
  (“Generally, the defendant must show that the plaintiff has in some way made voluntary efforts


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   to affect and influence the resolution of a public controversy....”). And, although the Florida
   cases appear to be silent on this specific affirmative defense, it would follow that Defendants
   bear the burden on this issue in Florida, as they would with any other affirmative defense. See,
   e.g., Donawa v. United States AG, 735 F.3d 1275, 1282 (11th Cir. 2013) (“‘[T]he defendant
   bears the burden of proving an affirmative defense.’” (quoting Black’s Law Dictionary 482 (9th
   ed.2009))); Jones v. City of Lakeland, 318 F. App’x 730, 736 (11th Cir. 2008) (“As an
   affirmative defense, the defendant bears the burden of establishing both of these elements.”);
   Nurse “BE” v. Columbia Palms W. Hosp. Ltd. P’ship, 490 F.3d 1302, 1309 (11th Cir. 2007)
   (“As an affirmative defense, the defendant bears the burden of establishing both of these
   elements.”).13
           Accordingly, Defendants bear the burden of proving their affirmative defense that
   Plaintiffs are public figures.
           III.     Plaintiffs are Not Public Figures.
                    A.     Plaintiffs are Not General Public Figures
           As a starting point, in Gertz v. Robert Welch, 418 U.S. 323 (1974), the United States
   Supreme Court articulated the two types of “public figures” for defamation cases: individuals
   who are public figures for all purposes and those who are public figures for more limited
   purposes. Id. at 351. With respect to the former, the Supreme Court held that:


   13
      Courts in other jurisdictions have similarly found the “public figure” question to be an
   affirmative defense, for which the defendant bears the burden of proof. See, e.g., Schultz v.
   Reader’s Digest Ass’n, 1977 U.S. Dist. LEXIS 12563, at *6 (E.D. Mich. Dec. 5, 1977) (“The
   defense that a plaintiff is a ‘public figure’ is an affirmative defense in a case of this sort. As
   such, the burden is on the defendant to plead and prove the elements of this defense.”); Quigley
   v. Rosenthal, 43 F. Supp. 2d 1163, 1176 (D. Colo. 1999) (outlining criteria to be proven by
   defendant to “establish that a defamation or libel plaintiff is a limited-purpose public figure”);
   Clyburn v. News World Commc'ns, Inc., 705 F. Supp. 635, 639 (D.D.C. 1989) (“To show that
   plaintiff is a limited purpose public figure, defendants must satisfy three criteria.”); Addison v.
   City of Baker City, 258 F. Supp. 3d 1207, 1240 (D. Or. 2017) (“Defendants’ Tenth Affirmative
   Defense asserts that Addison is a public figure, thereby providing heightened First Amendment
   protection, and triggering a higher standard of culpability that must be pleaded and proven for
   Addison’s defamation claim than if Addison were not a public figure.”); Weingarten v. Block,
   102 Cal. App. 3d 129, 134 (1980) (“The answers alleged as an affirmative defense that
   Weingarten was a ‘public figure.’”); Helena Chem. Co. v. Uribe, 293 P.3d 888, 892-93
   (N.M.C.A. 2012) (finding that the question of “public figure is an affirmative defense that must
   be raised before trial”); Reesman v. Highfill, 965 P.2d 1030, 1034 (1998) (“[P]laintiff filed a
   cross-motion for partial summary judgment on defendants’ public figure affirmative defense.”).
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           For the most part those who attain this status have assumed roles of special
           prominence in the affairs of society. Some occupy positions of such persuasive
           power and influence that they are deemed public figures for all purposes.
   Id.
           It is exceedingly rare for individuals to be all-purpose public figures and the test is
   “strict:”
           This test is a strict one. The [Gertz] Court stated flatly that “(a)bsent clear evidence
           of general fame or notoriety in the community, and pervasive involvement in the
           affairs of society, an individual should not be deemed a public personality for all
           aspects of his life.” ... The Court in Gertz acknowledged freely that under this
           definition the general public figure is a rare creature.... From analyzing Gertz and
           more recent defamation cases, we believe that a person can be a general public
           figure only if he is a “celebrity” his name a “household word” whose ideas and
           actions the public in fact follows with great interest.
   Waldbaum v. Fairchild Publ'ns, 627 F.2d 1287, 1292 (D.C. Cir. 1980).
           With respect to corporate plaintiffs, the Courts have rejected the notion that even large,
   well-known, publicly-traded companies are transformed into all-purpose public figures simply
   by reason of their prominence in the marketplace. See, e.g., Mitre Sports Int'l Ltd. v. HBO, Inc.,
   22 F. Supp. 3d 240 (S.D.N.Y. 2014). In Mitre, the Court rejected HBO’s argument that, “Mitre,
   simply by virtue of being one of the largest sporting goods companies in the world and one of the
   leading soccer ball brands in the United States .... is a public figure” despite the fact that Mitre
   touted itself as being “synonymous with soccer,” and the “number one manufacturer of [soccer
   balls] in the world” and was described in the media as being “the leading maker of soccer shoes
   and balls in the U.S.” and one of “two giants in the soccer industry.” Id., at 249-50.
           In rejecting these arguments, the Mitre Court held that “even well-known corporations
   that sell and advertise common products are not general purpose public figures.” Id. at 250
   (citing Computer Aid, Inc. v. Hewlett-Packard Co., 56 F. Supp. 2d 526, 535-36 (E.D. Pa. 1999)
   for contention that “‘we do not believe that Hewlett-Packard has such pervasive fame or
   notoriety to be deemed a general purpose public figure,’ despite its status as ‘one of the largest
   and most influential corporations in the world with one of the most actively traded stocks on the
   New York Stock Exchange’”). See, also, Long v. Cooper, 848 F.2d 1202, 1204-05 (11th Cir.
   1988) (finding that plaintiff was not even a limited public figure despite it being undisputed “that
   Long’s Electronics was one of the leading discount sellers of satellite television equipment in
   America.”).

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          Nor do efforts at publicizing a company’s products (successful or otherwise) transform
   that company (or its executives) into general purpose public figures. Long, 848 F.2d at 1204
   (even high volumes of direct advertising did not result in plaintiff being even a limited public
   figure); Rety v. Green, 546 So. 2d 410, 425 (Fla. 3d DCA 1989) (“Rety was a private
   businessman who owned and operated an exclusive French restaurant in Bay Harbor Islands. He
   advertised his restaurant as do many other private businessmen, but he was in no sense a public
   personality.”); Mitre, 22 F. Supp. 3d at 250 (“Mitre’s sale and advertising of sports equipment is
   insufficient to make it a general purpose public figure. Courts have held that even well-known
   corporations that sell and advertise common products are not general purpose public figures.”
   (collecting New York cases that “have repeatedly rejected the notion that advertising alone
   makes a business a public figure”)).
          There has never been a single bit of evidence to suggest that any of Plaintiffs have
   approached the level of public recognition necessary to qualify them as general-purpose public
   figures and, as a matter of law, they are not. Accordingly, the Court should find that Plaintiffs
   are not general-purpose public figures and dismiss Defendants’ Fifth Affirmative Defense.
                  B.      Plaintiffs are Not Limited Public Figures in any Relevant Respect.
          The Court’s inquiry, of course, does not end there. Instead, the Court must determine
   whether any of the Plaintiffs are limited-purpose public figures. Unlike the general-purpose
   public figure who “occupy positions of such persuasive power and influence that they are
   deemed public figures for all purposes,” limited-purpose public figures are those individuals (or
   corporate entities” that “have thrust themselves to the forefront of particular public controversies
   in order to influence the resolution of the issues involved.” Gertz v. Robert Welch, 418 U.S. 323,
   345 (1974).
          The test to determine if a party has “thrust themselves to the forefront of particular public
   controversies in order to influence the resolution of the issues involved,” is the three-prong test
   first set forth by the D.C. Circuit Court of Appeals in Waldbaum v. Fairchild Publications, Inc.,
   627 F.2d 1287, 1297 (D.C. Cir.1980) and subsequently adopted by the Eleventh Circuit in
   Silvester v. American Broadcasting Companies, Inc., 839 F.2d 1491 (11th Cir.1988).14


   14
     Defendants acknowledged that the Court should apply the Silvester test in the last hearing
   before this Court. See June 11, 2018 Hearing Transcript, D.E. 184-1, p. 26 (“MS. BOLGER:


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          As the Eleventh Circuit explained:
          In Silvester, we adopted the three-part analysis for establishing limited public figure
          status set forth in Waldbaum.... As we stated in Silvester, “[u]nder the Waldbaum
          analysis, the court must (1) isolate the public controversy, (2) examine the
          plaintiffs’ involvement in the controversy, and (3) determine whether ‘the alleged
          defamation [was] germane to the plaintiffs’ participation in the controversy.’” 839
          F.2d at 1494, quoting Waldbaum, 627 F.2d at 1297.
   Long v. Cooper, 848 F.2d 1202, 1204 (11th Cir. 1988).15
                          1.      Public Controversy
          Unsurprisingly, Defendants would like to define the “public controversy” as broadly as
   possible, claiming that the Court should define the public controversy to be “the meddling of the
   Russian Government in the election in the United States of America.” June 11, 2018 Hearing
   Transcript, D.E. 184-1, p. 24. And, although Plaintiffs would argue that the public controversy
   should be defined more narrowly given the defamatory statements concerning Plaintiffs (that
   they allegedly participated in the hacking of the Democratic National Committee at the direction
   of the FSB), it does not matter which of the two formulations the Court adopts given that
   Plaintiffs are not even remotely limited-purpose public figures in connection with either. 16
                          2.      Plaintiff’s Involvement in the Controversy
          In the second prong of the Silvester test, the Court looks to the question of the extent to
   which Plaintiffs have “thrust itself into a public controversy” in an “attempt to influence the
   outcome of the alleged controversy.” Long, 848 F.2d at 1204-05; White v. Tarbell, 284 A.D.2d
   888, 889 (N.Y. App. Div. 2001) (“[O]ne may become a limited purpose public figure by
   ‘purposeful activity amounting to a thrusting of his personality into the “vortex” of an important
   public controversy.’” (quoting Curtis Publ. Co. v. Butts, 388 U.S. 130, 155 (1967))).



   Your Honor, the test is the Sylvester [sic] case in the Eleventh Circuit.... [T]he Sylvester case in
   the Eleventh Circuit sets forth the three prongs and says it’s a matter of law. So that’s where to
   look, Your Honor.”).
   15
      See, also, Mitre, 22 F. Supp. 3d at 250-51 (“As articulated by the Second Circuit, a limited
   purpose public figure is someone who has: (i) successfully invited public attention to his views
   in an effort to influence others prior to the incident that is the subject of the litigation, (ii)
   voluntarily injected himself into a public controversy related to the subject of the litigation; (iii)
   assumed a position of prominence in the public controversy; and (iv) maintained regular and
   continuing access to the media.”).
   16
      Plaintiffs do not dispute the existence of a public controversy predating Buzzfeed’s publication
   of the Dossier.
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          As the Court held in Waldbaum:
          Once the court has defined the controversy, it must analyze the plaintiff’s role in it.
          Trivial or tangential participation is not enough. The language of Gertz is clear that
          plaintiffs must have “thrust themselves to the forefront” of the controversies so as
          to become factors in their ultimate resolution.... They must have achieved a
          “special prominence” in the debate.... The plaintiff either must have been purposely
          trying to influence the outcome or could realistically have been expected, because
          of his position in the controversy, to have an impact on its resolution. In
          undertaking this analysis, a court can look to the plaintiff’s past conduct, the extent
          of press coverage, and the public reaction to his conduct and statements.
   627 F.2d at 1297-98 (citations omitted).
          Often, by necessity, the court’s analysis involves discussing those activities or actions
   that are insufficient to satisfy the second Silvester prong. Given that Defendants intend to rely
   almost entirely on actions rejected by other courts as being insufficient to meet the second prong
   of Silvester, such a discussion is appropriate here.
          For example, courts have repeatedly held that simply engaging in normal publicity efforts
   does not transform a plaintiff into even a limited purpose public figure. Mitre, 22 F. Supp. 3d at
   250 (“New York courts have repeatedly rejected the notion that advertising alone makes a
   business a public figure.”); Lee v. City of Rochester, 663 N.Y.S.2d 738, 745-46 (N.Y. Sup. Ct.
   1997) (“If that was the only criterion, any business that advertised would, merely by the fact of
   advertising, become a public figure, a proposition rejected in the cases.”); Behr v. Weber, 1990
   N.Y. Misc. LEXIS 712, 1990 WL 270993, at *2 (N.Y. Sup. Ct. Jan. 5, 1990) (“[A] business does
   not thrust itself into a public controversy by merely advertising its services” (internal quotation
   marks omitted)); El Meson Espanol v. NYM Corp., 389 F. Supp. 357, 359 (S.D.N.Y. 1974) (“[A]
   corporation ... holding itself out to the public as operating a safe and proper place to go, is not a
   public figure.”).
          This is all the more true when the publicity and advertising efforts are unrelated to the
   relevant public controversy. For instance, the 11th Circuit in Long decided this issue as follows:
          This case can be decided on the narrow ground that Long’s Electronics did not
          thrust itself into a public controversy.... It is not disputed that Long’s Electronics
          was one of the leading discount sellers of satellite television equipment in America.
          It also is not disputed that much of Long’s Electronics’ advertising involved
          comparisons of its prices to “list” prices, that it did a high volume of direct mail
          advertising, and that it touted itself as “The Nation’s Largest TVRO Dealer.” There
          is no evidence in the record, however, that Long’s Electronics – either through its
          advertisements or otherwise – ever commented upon or in any way addressed the

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           controversy over the relative virtues of discount wholesalers vis-a-vis specialty
           retailers of satellite television equipment. Nor is there any evidence that Long’s
           Electronics made direct, specific comparisons of its prices to those of identified
           specialty dealers.
                   We can assume arguendo that a company and its principal could create
           advertisements that might thrust them into a controversy such as the one in this
           case. However, the advertising used by Long’s Electronics does not come close to
           rising to such levels; indeed the form and flavor of Long’s Electronics’
           advertisements are well within the mainstream of normal advertising practices.
           Moreover, Long’s Electronics in no way attempted to influence the outcome of the
           alleged controversy.

   848 F.2d at 1204-05. See, also, White, 284 A.D.2d at 890 (“The fact that one of the plaintiffs
   here had previously run for public office is also insufficient in and of itself to his status as a
   limited purpose public figure, for there is no evidence of any relationship between his prior
   candidacies and the particular public controversy that was the subject of defendant’s allegedly
   defamatory statements....”).
           Despite Defendants’ specific representations to this Court to the contrary, 17 unsuccessful
   efforts to obtain publicity are irrelevant to the inquiry. See, e.g., Enigma Software Grp. USA,
   LLC v. Bleeping Computer LLC, 194 F. Supp. 3d 263, 288 (S.D.N.Y. 2016) (“The Second
   Circuit has adopted a four-part test to determine whether a plaintiff is a limited-purpose public
   figure. To qualify, a plaintiff must have: ‘(1) successfully invited public attention to [its] views
   in an effort to influence others prior to the incident that is the subject of litigation....” (emphasis
   added)); Calvin Klein Trademark Trust v. Wachner, 129 F. Supp. 2d 248, 251-52 (S.D.N.Y.
   2001) (“[A] claimant is to be considered a ‘limited purpose’ public figure if he (or she or it) has
   ... successfully invited public attention to his views in an effort to influence others prior to the
   incident that is the subject of the litigation....”).
           Likewise, simply speaking to small industry groups and writing articles for small niche
   industry publications is insufficient to transform a plaintiff into a limited public figure where the
   talks and writings were not aimed at influencing the outcome of a particular controversy. See,
   e.g., Sovik v. Healing Network, 244 A.D.2d 985, 988 (N.Y. App. Div. 1997) (“Further, through
   his teaching on behalf of the Institute and Himalayan International and his articles on yoga
   intended principally for members of Himalayan International, plaintiff has not ‘voluntarily


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     June 11, 2018 Hearing Transcript, D.E. 184-1, p. 23 (“You know, it doesn’t matter whether
   you succeed in hitting PR. It matters that you try.”).
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   injected [himself] into the vortex of [the] particular public controversy [at issue] in order to
   influence its outcome’ ... and thus is not a ‘limited issue’ public figure....” (citations omitted));
   Madsen v. Buie, 454 So. 2d 727, 730 (Fla. 1st DCA 1984) (discussing Hutchinson v. Proxmire,
   443 U.S. 111 (1979), and noting that, in that case, “Hutchinson, a research behavioral scientist
   who had received federal funds to conduct research and who had published writings which
   reached a relatively small category of professionals concerned with research in human behavior
   was found not to be a public figure for even limited purposes. The court found that neither
   Hutchinson’s applications for federal grants nor his publications in professional journals could be
   said to have invited that degree of public attention and comment on his receipt of federal grants
   essential to place him within ‘public figure’ status.”).
           Merely achieving a degree of public recognition in a particular field is also insufficient to
   make a plaintiff even a limited public figure, where the plaintiff has not employed that
   recognition in an attempt to influence the outcome of the controversy. In the Gertz case before
   the United States Supreme Court, the plaintiff was not deemed a general or limited public figure
   despite the fact that he “has long been active in community and professional affairs. He has
   served as an officer of local civic groups and of various professional organizations, and he has
   published several books and articles on legal subjects. Although petitioner was consequently
   well known in some circles, he had achieved no general fame or notoriety in the community....
   He plainly did not thrust himself into the vortex of this public issue, nor did he engage the
   public’s attention in an attempt to influence its outcome.” 418 U.S. at 351-52. See, also, Madsen
   v. Buie, 454 So. 2d 727, 729 (Fla. 1st DCA 1984) (reversing trial court’s finding that plaintiff
   was a limited public figure despite finding that plaintiff “is an outstanding authority in the field
   of psychology and has authored a number of books and articles....”); Long, 848 F.2d at 1205-06
   (“Although Long is well known in the satellite television industry, it has done nothing to thrust
   itself into the alleged controversy.... [T]he mere fact that Long’s Electronics is successful and a
   leader in its field is insufficient to convert it into a limited public figure.”); Lee, 663 N.Y.S.2d at
   742-45 (evidence of plaintiff’s “high profile effort to promote his business” did not make him a
   public figure where there was “no public controversy attend[ing] plaintiff’s self-promotion
   efforts”); Computer Aid, Inc. v. Hewlett-Packard Co., 56 F. Supp. 2d 526, 536 (E.D. Pa. 1999).
           Even “being an executive within a prominent and influential company does not by itself
   make one a public figure.” Waldbaum, 627 F.2d at 1299.

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          The fact that the media give a plaintiff the opportunity to respond to defamatory
   statements does not mean that a plaintiff has the kind of regular access to the media that might
   contribute to a plaintiff being deemed a limited public figure. Hutchinson v. Proxmire, 443 U.S.
   111, 134-36 (1979) (“[W]e cannot agree that Hutchinson had such access to the media that he
   should be classified as a public figure. Hutchinson’s access was limited to responding to the
   announcement of the Golden Fleece Award. He did not have the regular and continuing access
   to the media that is one of the accouterments of having become a public figure.”). Indeed, the
   Hutchinson Court specifically noted that consideration of the Plaintiff’s access to media in
   response to the defamatory publication would be improper. “Clearly, those charged with
   defamation cannot, by their own conduct, create their own defense by making the claimant a
   public figure.” Id., at 135. See, also, Silvester, 839 F.2d at 1496 (“[T]he plaintiff must have
   been a public figure prior to the publication of the particular defamatory speech which is the
   issue of the litigation.”); Rety, 546 So. 2d at 425 (“[O]bviously a defendant in a defamation
   action cannot by his defamation make the plaintiff a limited public figure for First Amendment
   purposes; the said plaintiff, unlike this case, must be a limited public figure prior to the alleged
   defamation.”).
          And, even where a plaintiff takes certain actions that bring him within the public
   limelight, the Court must consider whether the plaintiff played a major or minor role in the
   overall controversy.18 See, e.g., Wolston v. Reader’s Digest Ass’n, 443 U.S. 157, 166-67 (1979)
   (“It is clear that petitioner played only a minor role in whatever public controversy there may
   have been concerning the investigation of Soviet espionage. We decline to hold that his mere
   citation for contempt rendered him a public figure for purposes of comment on the investigation
   of Soviet espionage.”). As the United States Supreme Court in Wolston held:


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     Amusingly, a plaintiff’s own inflated view of their importance to the controversy is irrelevant.
   Cantrill v. Herald Co., 1992 U.S. Dist. LEXIS 7620, at *57-58 (N.D.N.Y. May 22, 1992)
   (“Finally, defendants point to Cantrill’s admissions that he has a national reputation and has
   influenced the outcome of the debate recruiting issue. Despite Cantrill's personal beliefs, the
   applicable legal authority suggests an objective analysis of whether plaintiff has attained limited
   public stature and does not permit the court to consider such subjective considerations as
   personal belief or desire.... Hence, defendants’ reference to Cantrill's admissions has no bearing
   on the court’s determination of Cantrill’s status. The court finds that defendants fail to carry
   their burden of demonstrating that plaintiff Cantrill is a limited issue public figure on the issue of
   debate recruiting, and therefore the court concludes that plaintiff Cantrill is a private figure
   plaintiff for purposes of this lawsuit.”).
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          A private individual is not automatically transformed into a public figure just by
          becoming involved in or associated with a matter that attracts public attention....
          Nor do we think that petitioner engaged the attention of the public in an attempt to
          influence the resolution of the issues involved. Petitioner assumed no “special
          prominence in the resolution of public questions.”
   Wolston at 167-68. See, also, Waldbaum, 627 F.2d at 1300 (“Not everyone who participates in
   activities that affect the public becomes a public figure. Nevertheless, when one assumes a
   position of great influence within a specific area and uses that influence to advocate and practice
   controversial policies that substantially affect others, he becomes a public figure for that
   debate.”); Saro Corp. v. Waterman Broad. Corp., 595 So. 2d 87, 89 (Fla. 2d DCA 1992)(“[T]he
   court must determine whether the individual played a central role in the controversy.”); Mitre, 22
   F. Supp. 3d at 252 (“Mitre’s purported role in the international effort to eliminate child labor in
   the manufacture of soccer balls similarly lack the level of involvement required by Gertz, James,
   and their progeny. Specifically, the role of Mitre’s corporate parent in sponsoring a conference
   that brought together representatives from the soccer ball industry in Pakistan in 1996, the
   creation of a hotline for American consumers to learn which brands had committed to the Atlanta
   Agreement, Mitre’s corporate policy denouncing child labor on its website and press releases
   indicating that Mitre had committed to the Atlanta Agreement do not show that Mitre itself took
   an affirmative stance on child labor in a manner that aimed to influence the public’s views on the
   controversy.”).
          Turning to the present case, then, there is a complete absence of any evidence to suggest
   that Mr. Gubarev, XBT, or Webzilla voluntarily injected themselves into any public controversy
   in an attempt to influence the outcome of that controversy, no matter how the Court defines that
   controversy. Under either formulation of the controversy, Plaintiffs’ efforts to obtain publicity
   for new products and services would have been irrelevant even had they been successful, but,
   given that they were not, are particularly immaterial to the Court’s inquiry.
          If the Court utilizes Defendants’ formulation of the public controversy, namely “the
   meddling of the Russian Government in the election in the United States of America,” it would
   have to conclude, as a matter of law, that even Mr. Gubarev’s one, isolated comment concerning
   the technical feasibility of a server from Alfa Bank communicating with a server from the Trump
   organization, did not amount to his playing a “central role” in the controversy that constituted a
   “thrusting of his personality into the ‘vortex’ of an important public controversy.” Nor can it be


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   said that Mr. Gubarev achieved a “special prominence” in the debate as opposed to “trivial or
   tangential participation.” In short, even utilizing Defendants’ definition of the controversy, Mr.
   Gubarev’s “role” in that controversy falls far short even of the level of participation that Courts
   have consistently found insufficient to transform a party into a limited public figure.
          And, of course, it should go without saying that, if the Court were to define the public
   controversy more narrowly as the hacking of the Democratic National Committee, then the
   evidence that Plaintiffs attempted to insert themselves into the controversy at all (much less for
   the purposes of influencing its outcome) is wholly nonexistent.
          In either case, though, the Court should conclude as a matter of law that Plaintiffs’
   “involvement” in the controversy was insufficient to establish them as limited-purpose public
   figures.
                          3.      The Connection Between the Defamation and Plaintiffs’ Alleged
                                  Role in the Controversy.
          Although the Court can (and should) easily decide the present motion based on
   Defendants’ wholesale inability to prove the second prong of Silverster, the final nail in the
   public-figure coffin is Defendants’ inability to connect Plaintiffs’ (non-existent) involvement in
   the public controversy to the alleged defamatory statements. See, Saro Corp., 595 So. 2d at 89
   (the court “must determine whether the alleged defamation was germane to the individual’s role
   in the controversy”); Waldbaum, 627 F.2d at 1298 (“Finally, the alleged defamation must have
   been germane to the plaintiff’s participation in the controversy.”).
          As discussed throughout this Memorandum, Plaintiffs’ alleged “role” in the controversy
   is limited to providing comments to a Bloomberg columnist concerning the technical feasibility
   that Slate magazine was able to properly link a server from Alfa Bank to a server within the
   Trump organization. In contrast, the alleged defamatory statements at issue in this case are that:
          [Redacted] reported that over the period March-September 2016 a company called
          XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
          viruses, plant bugs, steal data and conduct “altering operations” against the
          Democratic Party leadership. Entities linked to one Aleksei GUBAROV [sic] were
          involved and he and another hacking expert, both recruited under duress by the
          FSB, Seva KAPSUGOVICH, were significant players in this operation.
   See Exhibit 11 to Shayefar Decl., p. 35.
          The two are wholly unconnected. Not only is the defamatory statement unrelated to any
   alleged connection between an Alfa Bank server and a Trump organization server, but the

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   Dossier as a whole fails to make any mention of any such alleged connection. As such, even if
   Mr. Gubarev could be said to have somehow connected himself to the public controversy by
   virtue of his comments to Bloomberg, the defamatory statements were not germane to his
   “involvement” in the public controversy. Accordingly, the present motion should be allowed,
   Plaintiffs should be granted Summary Judgment on Defendants’ Fifth Affirmative Defense, and
   the Court should hold that Plaintiffs are private figures for the purposes of this action.
                                                Conclusion
             For the reasons stated hereinabove, Plaintiffs’ Motion for Summary Judgment should be
   allowed and the Court should hold that Plaintiffs are private figures for the purposes of this
   action.


                                           Request for Hearing
             Plaintiffs respectfully request that the Court schedule a hearing on the present motion
   given the complex nature of the motion. Plaintiffs estimate that the parties will require one hour
   for arguments.




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   Dated: September 17, 2018
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                                   CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing was served electronically via
   the CM/ECF electronic filing system on all counsel or parties of record on the service list below
   on September 17, 2018.


                                                        /s/ Matthew Shayefar
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